                                           Case 3:23-cv-00861-RS Document 69 Filed 02/29/24 Page 1 of 1




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                                   7                                 UNITED STATES DISTRICT COURT

                                   8                                NORTHERN DISTRICT OF CALIFORNIA

                                   9
                                        BENEFIT COSMETICS LLC,
                                  10                                                       Case No. 23-cv-00861-RS
                                                       Plaintiff,
                                  11
                                                v.                                         SUPPLEMENTAL SCHEDULING
                                  12                                                       ORDER
Northern District of California




                                        E.L.F. COSMETICS, INC.,
 United States District Court




                                  13
                                                       Defendant.
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                                  15          At the further case management conference, the parties noted that the existing dispositive

                                  16   motion hearing date, currently scheduled for June 27, 2024, conflicts with the court’s schedule.

                                  17   The parties verbally stipulated to continuing that date to July 18, 2024. Accordingly, the new

                                  18   dispositive motion hearing date is continued to July 18, 2024, and all associated briefing must be

                                  19   completed by July 4, 2024.

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                                  21   IT IS SO ORDERED.

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                                  23   Dated: February 29, 2024

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                                                                                       RICHARD SEEBORG
                                  25                                                   Chief United States District Judge
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